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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                            4:23CR3051
                                                                     4:23CR3052
                       Plaintiff,
                                                          STATEMENT OF PLAINTIFF
        vs.                                             PURSUANT TO NECrimR. 32.1(b)
                                                          REGARDING SENTENCING
JOHNNY PALERMO,                                        PROCEDURES AND ADOPTION OF
                                                         THE REVISED PRESENTENCE
                       Defendant.                          INVESTIGATION REPORT


        COMES NOW Plaintiff, the United States of America, by and through the undersigned

Assistant United States Attorney, and hereby provides this written statement in accordance with

NECrimR. 32.1(b), regarding Sentencing Procedures.

        Plaintiff hereby adopts the Revised Presentence Investigation Report. Plaintiff

anticipates offering no additional evidence at sentencing, other than to rebut or address issues

raised by Defendant.

                                              Respectfully Submitted,

                                              UNITED STATES OF AMERICA,

                                              SUSAN T. LEHR
                                              United States Attorney
                                              District of Nebraska



                                      By:     s/ Donald J. Kleine
                                              DONALD J. KLEINE, #22669
                                              Assistant U.S. Attorney
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                                        CERTIFICATE OF SERVICE

        I hereby certify that on April 1, 2024, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which sent notification of such filing to all registered
participants. I also hereby certify that a copy of the same was served by regular mail, postage
prepaid, to the following non-CM/ECF participants:

                 Laura Baumann
                 U.S. Probation

                                                       s/ Donald J. Kleine
                                                       Assistant U.S. Attorney




                                        CERTIFICATE OF SERVICE

       I hereby certify that on Click here to enter a date., I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following: Click here to enter text., and also hereby certify that a copy of the same has been
served by regular mail, postage prepaid, to the following non-CM/ECF participants:

                 Click here to enter text.            Click here to enter text.


                                                       s /Click here to enter AUSA
                                                       Assistant U.S. Attorney




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